
Reese, J.
delivered the opinion of the court.
John Rust sued the plaintiffs in error, in the Circuit Court of Weakley county, in action of debt upon a writing obligatory.
The issue joined between the parties, consists of two pleas and the replication thereto, namely, payment and set off.
To try the issue joined, a jury was sworn, and their oath *533was, that they would well and truly try the issue, &amp;c., and their verdict was, that they find the issue in favor of the plaintiff) and judgment was pronounced.
And here it is assigned for error, that the word issue, in the oath and verdict, ought to have been in the plural number, and that it is to be intended that one or the other of the pleas was overlooked by the jury. The word issue, as in the stating part of this opinion, is often used as a nomen collectimm.
The “issue joined” between parties, may embrace various distinct grounds of defence. The jury are sworn to try that issue, and they cannot find it in favor of the plaintiff, if they believe any of those grounds of defence, constituting a part of the issue submitted to them, to have been made out in favor of the defendant.
We have held, that when the verdict is not technically responsive to any one of several pleas, but in sense and legal effect is a negative of the allegations of all, the verdict will be sustained.
Courts should seek to sustain verdicts and judgments rather than to reverse them. To hold that there is error in the present case, would be to act on grounds too narrow and critical, and would go beyond any of the decided cases. These cases have gone far enough.
Let the judgment be affirmed.
